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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                      PINE BLUFF DIVISION

MAEOLA AND DONNELL SMITH                                    PLAINTIFFS

v.                  CASE NO. 5:16-cv-00283-JMM

GENERAL MOTORS LLC                                         DEFENDANT

              DEFENDANT GENERAL MOTORS LLC’S
               MOTION FOR SUMMARY JUDGMENT




                            EXHIBIT 3
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